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                       IN THE UNITED STATED DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

SECURITIES AND EXCHANGE COMMISSION                           §
Plaintiff,                                                   §
                                                             §
                                                             §
                                                             §
v.                                                           §    Civil Action No. 4:11-cv-655
                                                             §
                                                             §
JAMES G. TEMME, and                                          §
STEWARDSHIP FUND, LP,                                        §
Defendants.                                                  §

     ORDER GRANTING RECEIVER’S FINAL APPLICATION TO ALLOW AND PAY
             PROFESSIONAL FEES TO FIGARI & DAVENPORT LLP


        CAME ON FOR CONSIDERATION the Receiver’s Second Interim Application to

Allow and Pay Professional Fees to Figari & Davenport, LLP (the “Application” - Dkt.

#386), which requests reimbursement for fees incurred for the time period from October 1,

2013, through September 30, 2014. The Receiver seeks to pay Figari & Davenport, LLP total

compensation of $34,701.77.

        No opposition has been filed to this Application. Counsel for the Commission has

reviewed the fee application and been afforded the opportunity to object, but does not object to

the relief sought. Based upon a review of the Application and the pleadings on file, the Court

finds and concludes that (a) the relief requested in the Application is in the best interests of the

Receiver and his receivership estates; (b) proper and adequate notice of the Application has been

given and that no other or further notice is necessary; and (c) good and sufficient cause exists for

the granting of the relief requested in the Application after having given due deliberation upon
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    the Application and all of the proceedings had before the Court in connection with the

.   Application. Therefore, it is hereby ORDERED that:

           i.     The Application is GRANTED.

           ii.    Receiver is authorized to pay Figari & Davenport, LLP total compensation of

    $34,701.77 from October 1, 2013, September 30, 2014.

         SIGNED this 6th day of November, 2015.




                                     ___________________________________
                                     AMOS L. MAZZANT
                                     UNITED STATES DISTRICT JUDGE
